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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

[| Original Plan
[m} SECOND Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
Ld . Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Jazmina Davila JOINT DEBTOR: CASE NO.: 19-26193-LMI
SS#: xxx-xx- 8283 SS#: Xxx-xx-
L NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result in a .
partial payment or no payment at all to the secured creditor L] Included [m] Not included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set :
out in Section Lil [|] Included [mi] Not included
Nonstandard provisions, set out in Section VIII [| Included im Not included

 

 

 

Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $1,542.98 formonths 1 to_23_;
2. $1,375.82 for months 24 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [-]NONE-  [] PRO BONO
Total Fees: $4650.00 Total Paid: $1190.00 Balance Due: $3460.00
Payable $150.44 /month (Months 1 to 23 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4500 Attorneys Fees + $150 Cost = $4650

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [7] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

 

 

1. Creditor: PHH Mortgage Servicing [POC#1]
Address: MailStop SBRP Arrearage/ Payoff on Petition Date $20,072.37
PO Box 3469 Regular Payment (Maintain) $763.70 /month (Months 1 to 60 )
Mt. Laurel, NJ 08054 ns —_—
_. Arrears Payment (Cure) $334.54 /month (Months I to 60 }
Last 4 Digits of ee —_
Account No.: 1900
Other:

 

 

 

 

 

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Debtor(s): Jazmina Davila Case number: 19-26193-LMI
[mi] Real Property Check one below for Real Property:
[mi )Principal Residence [m|Escrow is included in the regular payments
[Other Real Property [|The debtor(s) will pay [_]taxes [insurance directly
Address of Collateral:
1176 West 37 Terrace #12, Hialeah, FL 33012
[_] Personal Property/Vehicle
Description of Collateral:
2. Creditor: Mango Hill C.A. #9, Inc.
Address: c/o Smart Choice Property Arrearage/ Payoff on Petition Date $3,000.00
Managment Regular Payment (Maintain) $90.00 /month (Months 1 6
330 SW 27 Avenue #706 Bulan Fay $20.00 __ month (Months _}_ 0 60)
Miami, FL 33166 Arrears Payment (Cure) $50.00 ‘month (Months 1 to 60 )
Last 4 Digits of
Account No.: 12
Other:
[mi] Real Property Check one below for Real Property:
[m Principal Residence [mi /Escrow is included in the regular payments
[ Other Real Property [|The debtor(s) will pay [_]taxes [_]insurance directly
Address of Collateral:
1176 West 37 Terrace #12, Hialeah, FL 33012
[_] Personal Property/Vehicle
Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: [lj] NONE

C. LIEN AVOIDANCE [i] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[lj] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[im] NONE
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lf] NONE
B. INTERNAL REVENUE SERVICE: [lf] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [i] NONE
D. OTHER: [Mm] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $0.00 /month (Months 1 to 60 )

 

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. (lj If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [ll] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

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Debtor(s): Jazmina Davila Case number: 19-26193-LMI

VIL EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

IBNON
Vil. | INCOME TAX RETURNS AND REFUNDS: [mi] NONE
Vill. NON-STANDARD PLAN PROVISIONS [il] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

pin __ Debtor of, Lp 7 J. O68 Joint Debtor

mjfa Davila YA Date/ Date

 

Attorney with permission to sign on Date
Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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